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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA

    JUNE MEDICAL SERVICES, LLC d/b/a HOPE )
    MEDICAL GROUP FOR WOMEN, on behalf of its )
    patients, physicians, and staff,                         )
                                                             )
                                    Plaintiffs,              )
       v.                                                    ) Case No. 3:20-cv-00229-JWD-EWD
                                                             )
    STEPHEN R. RUSSO, in his official capacity as Interim )
    Secretary of the Louisiana Department of Health; )
    JIMMY GUIDRY, M.D., in his official capacity as State )
    Health Officer; and JEFF LANDRY, in his official )
    capacity as Attorney General for the State of Louisiana, )
                                                             )
                                   Defendants.               )
                                                             )
                                                             )
      PLAINTIFF’S APPLICATION FOR TEMPORARY RESTRAINING ORDER AND
                           MOTION FOR PRELIMINARY INJUNCTION

         The above-captioned Plaintiff, by and through undersigned counsel, hereby moves this

Court pursuant to Rule 65 of the Federal Rules of Civil Procedure for a temporary restraining

order, effective immediately, and after further proceedings, a preliminary injunction prohibiting

Defendants from enforcing Louisiana Department of Health’s (“LDH”) Healthcare Facility

Notice/Order #2020-COVID19-All-007 (the “Notice”) as applied to previabilty abortion.1 In the

alternative, Hope seeks relief as applied to itself and its patients, physicians, and staff.

         The Notice directs “that any and all medical and surgical procedures SHALL be postponed

until further notice,” except medical and surgical procedures (1) “to treat an emergency medical

condition” or (2) “to avoid further harms from underlying condition or disease.” As to healthcare

services other than medical and surgical procedures, the Notice “directs that all healthcare




1
 Louisiana Department of Health, Healthcare Facility Notice/Order #2020-COVID19-All-007 (Mar. 21,
2020), https://files.constantcontact.com/dd5f31ef601/1e9440a9-14a2-4982-8fb1-a1b129058f8e.pdf.

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providers postpone all in-person healthcare services that can safely be postponed for 30 days” but

leaves that determination to the provider’s “best medical judgment.” The Notice has immediate

effect.

          Defendants’ recent actions and application of the Notice to previability abortion would

deny Louisianans’ access to essential, time-sensitive healthcare and violate their constitutional

right to abortion prior to viability. Further, by inflicting warrantless inspections without notice on

Plaintiff and demanding copies of patient medical charts, Defendants violated Plaintiff’s and their

patients’ constitutional right to be free from unreasonable searches.

          Injunctive relief is necessary to halt Defendants from infringing on Louisianans’

fundamental constitutional right to abortion prior to viability and to preserve the status quo for

patients who are seeking that care. The requested relief is warranted for the reason that Defendants’

interpretation of the Notice would violate Plaintiff’s patients’ constitutional right to an abortion

under the Fourteenth Amendment, and their recent actions violate Plaintiff’s and their patients’

Fourth Amendment right to be free from unreasonable searches. The grounds for this Motion are

more fully set forth in Plaintiff’s accompanying Memorandum of Law in Support and the

Declarations of Kathaleen Pittman and Dr. Pooja Mehta (the “Supporting Papers”).

          In order to maintain the status quo pending determination of its motion for a preliminary

injunction, Plaintiff seeks an immediate temporary restraining order to prevent certain immediate

and irreparable harms from occurring to Plaintiff’s patients as described in the Supporting Papers.

          WHEREFORE, Plaintiff respectfully requests that this Court:

          (1)     Immediately issue a temporary restraining order, followed by a preliminary

injunction, and later a permanent injunction, restraining Defendants, their officers, agents,

servants, employees, and attorneys, and any persons in active concert or participation with them



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from enforcing the Notice as applied to previability abortion care, or, in the alternative, as applied

to Hope and its patients, physicians, and staff;

        (2)      After further proceedings, to enter a judgment declaring that the Notice, as applied

to previability abortion, or, in the alternative, as applied to Hope, its patients, physicians and staff,

violates the Fourteenth Amendment to the U.S. Constitution; and to enter a judgment declaring

that Defendants’ actions violate the Fourth Amendment to the U.S. Constitutions.


Respectfully submitted this 14th day of April, 2020.

                                                         /s/ Ellie T. Schilling

 Jenny Ma*                                             Ellie T. Schilling
 Caroline Sacerdote*                                   Louisiana State Bar No. 33358
 Arielle Humphries*                                    SCHONEKAS, EVANS, McGOEY
 CENTER FOR REPRODUCTIVE RIGHTS                        & McEACHIN, LLC
 199 Water Street, 22nd Floor                          909 Poydras Street, Suite 1600
 New York, New York 10038                              New Orleans, LA 70112
 Phone/Cell: (917) 637-3705                            Phone/Cell: (504) 680-6050
 Fax: (917) 637-3666                                   Fax: (504) 680-6051
 Email: jma@reprorights.org                            E-mail: Ellie@semmlaw.com

 * Admitted Pro Hac Vice

 ATTORNEYS FOR PLAINTIFF




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               CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 65

       I, Ellie T. Schilling, counsel for Plaintiff June Medical Services LLC d/b/a Hope Medical

Group for Women, hereby certify that I have furnished a copy of the foregoing Application for a

Temporary Restraining Order and Motion for Preliminary Injunction, as well as copies of all other

papers filed in the action to date or to be presented to the court at a hearing on the foregoing, on

Defendants listed below via ECF on April 14th, 2020:


STEPHEN R. RUSSO, in his official capacity as Interim Secretary of the Louisiana Department
of Health,

JIMMY GUIDRY, M.D., in his official capacity as State Health Officer, and

JEFF LANDRY, in his official capacity as Attorney General of Louisiana.




                                                             s/ Ellie T. Schilling
                                                             Ellie T. Schilling




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